ILND 450 (Rev.Case:   1:15-cv-05271
              10/13) Judgment in a Civil ActionDocument   #: 107 Filed: 03/14/19 Page 1 of 1 PageID #:1203

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

James Markette,

Plaintiff(s),
                                                                  Case No. 1:15-cv-05271
v.                                                                Judge Andrea R. Wood

HSBC Bank USA, National Association, Anselmo
Lindberg Oliver LLC ,

Defendant(s).

                                              JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                          which         includes       pre–judgment interest.
                                        does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s) HSBC Bank USA, National Association and Anselmo Lindberg Oliver
LLC
                 and against plaintiff(s) James Markette
.
        Defendant(s) shall recover costs from plaintiff(s).


                 other:

This action was (check one):

     tried by a jury with Judge      presiding, and the jury has rendered a verdict.
     tried by Judge      without a jury and the above decision was reached.
     decided by Judge Andrea Wood on a motion to dismiss [81] and [85].



Date: 3/14/2019                                                Thomas G. Bruton, Clerk of Court

                                                               /s/Enjoli Fletcher, Deputy Clerk
